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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

              Plaintiff,

       v.                                          Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA INC.,

              Defendants.


                           BAICELLS’ REPORT TO THE COURT

       Defendants Baicells Technologies Inc. and Baicells Technologies North America Inc.

(“Baicells” or “Defendants”), by counsel and pursuant to the status conference held on February

18, 2020, report that references to the Public Land Mobile Network (“PLMN”) number of 31198

or Home Network Identity (“HNI”) number 311-98, are no longer available on Baicells’

websites, https://na.baicells.com, https://community.na.baicells.com, or the Facebook Baicells

Operator Support Group.


                                           Respectfully submitted,

                                           ICE MILLER LLP


                                           /s/ Adam Arceneaux
                                           Adam Arceneaux, Attorney No. 17219-49
                                           Eric J. McKeown, Attorney No. 27597-49
                                           Jessa DeGroote, Attorney No. 358487-49

                                           Attorneys for Defendants, Baicells Technologies
                                           Inc. and Baicells Technologies North America,
                                           Inc.
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                              CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system:


                                          /s/ Adam Arceneaux
                                          Adam Arceneaux

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